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                Exhibit 10
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                Infringement Claim Chart for U.S. Pat. No. US7023979B1 v. OnePlus
                                          (“Defendant”)
   Claim10                                                   Evidence

10. A           The OnePlus Customer Service performs a method for communicating in a communication network.
communication
                For Example, OnePlus Customer Service performs a method of communicating by establishing, over a
s method        communication network, a call between callers with a request to the appropriate department for
comprising:     assistance.




                Source: Contact us (oneplus.com)




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Source: Live Chat - OnePlus (custhelp.com)




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(a) receiving a   The OnePlus Customer Service receives a plurality of communications, each having associated
plurality of      classification information.
communications,
each having       For example, OnePlus Customer Service receives calls from multiple callers. For each call, a user provides
associated        information about the nature of the call by selecting the appropriate department from the given choices
classification    via keypad entry. The responses are used to classify the call.
information;




                  Source: Contact us (oneplus.com)




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Source: Live Chat - OnePlus (custhelp.com)




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(b) storing              The OnePlus Customer Service maintains information about potential targets that includes support agents,
information              departments, or specific resources capable of handling different types of inquiries.
representing
characteristics of a     For example, OnePlus Customer Service stores information about the skill set possessed by agents who are
plurality of potential   potential targets of the call.
targets;




                         Source: Contact us (oneplus.com)




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Source: Live Chat - OnePlus (custhelp.com)




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(c) determining an     The OnePlus Customer Service determines an optimum target for each communication based on the
optimum target for     communication classification and target characteristics using a multivariate cost function comparing at
each                   least three potential targets.
communication
based on the           For example, OnePlus Customer Service analyses the caller selection to determine one or more skills that
communication          an agent who is selected to receive the call should have in order to provide the caller with the requested
classification and     assistance. The system determines the potential agent based on the communication classification and
target                 performs automated skill-based routing of calls using Zendesk Omnichannel support (i.e., a multivariate
characteristics        cost function). OnePlus employs numerous agents, at least three of which possess the skill set required by
using a multivariate   the call.
cost function
comparing at least
three potential
targets; and




                       Source: Contact us (oneplus.com)




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Source: Live Chat - OnePlus (custhelp.com)




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Source: OnePlus Customer Service & Service Center Details - OnePlus Appliances & Mobile - Best Service
Near Me (1stbestservice.com)




Source: OnePlus Chose Zendesk for its Global Omnichannel solution - PCQuest




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(d) routing the       The OnePlus Customer Service routes the communication to the optimum target.
communication to
the optimum target,   For example, upon determining, as the optimum target, the agent to which the call should be routed,
                      OnePlus Customer Service routes the call to that destination agent using Zendesk Omnichannel support.




                      Source: Contact us (oneplus.com)




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Source: Live Chat - OnePlus (custhelp.com)




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Source: OnePlus Customer Service & Service Center Details - OnePlus Appliances & Mobile - Best Service
Near Me (1stbestservice.com)




Source: OnePlus Chose Zendesk for its Global Omnichannel solution - PCQuest




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                     Source: Zendesk: Customer Service Software and Sales CRM | Best in 2023 | Zendesk India
said determining     The OnePlus Customer Service performs the determination and the routing steps within a common
step and said        operating environment.
routing step being
performed within a   For example, when a caller provides information about the nature of the call by selecting the appropriate
common operating     department from the given choices, then Zendesk automates the skill-based call routing using a single
environment.         Zendesk AI for integration (i.e., in a common operating system).




                     Source: Contact us (oneplus.com)




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Source: Live Chat - OnePlus (custhelp.com)




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Source: OnePlus Customer Service & Service Center Details - OnePlus Appliances & Mobile - Best Service
Near Me (1stbestservice.com)




Source: OnePlus Chose Zendesk for its Global Omnichannel solution - PCQuest




Source: Zendesk: Customer Service Software and Sales CRM | Best in 2023 | Zendesk India




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